                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

  PARENTS DEFENDING                                  No. 22-CV-78 CJW-MAR
  EDUCATION,
                                                     ORDER SCHEDULING
                 Plaintiff,                           ORAL ARGUMENT

  vs.
  LINN-MAR COMMUNITY SCHOOL
  DISTRICT, et al.,
                 Defendants.
                                ____________________

        The Court will conduct oral argument on the motion for preliminary injunction
(Doc. 3), on Tuesday, September 6, 2022, at 10:00 a.m.; United States Courthouse,
Courtroom 3, 111 Seventh Avenue SE, Cedar Rapids, Iowa.
        The parties are reminded to comply with LR 5A(g)(8), filings totaling more than
100 pages in length. (See LR 10(c)(3)). The copies should be printed from the docket
so the file stamped information is on the bottom of each page. These copies may be
double-sided.
        IT IS SO ORDERED this 16th day of August, 2022.



                                        _________________________
                                        C.J. Williams
                                        United States District Judge
                                        Northern District of Iowa




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